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13-10-00175-CV

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT
OF APPEALS

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THIRTEENTH
DISTRICT OF TEXAS

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CORPUS
CHRISTI - EDINBURG


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IN THE ESTATE OF CHAD
LAMONT BUTLER, DECEASED ____________________________________________________________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Appeal from the County Court at Law No. 1

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Jefferson County, Texas.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM
OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before
Justices Vela, Perkes and Hill[1]

Memorandum Opinion
Per Curiam

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Appellant,
Chinara Butler, perfected an appeal from a judgment entered by the County Court
at Law No. 1 of Jefferson County, Texas, in cause number 96118.&nbsp; Appellant has
filed a motion to dismiss the appeal and requests that this Court dismiss the
appeal.

The
Court, having considered the documents on file and appellant=s motion to dismiss the appeal, is of the opinion that
the motion should be granted.&nbsp; See Tex.
R. App. P. 42.1(a).&nbsp; Appellant=s motion to dismiss is granted, and
the appeal is hereby DISMISSED.&nbsp; Costs will be taxed against appellant. See
Tex. R. App. P. 42.1(d)
("Absent agreement of the parties, the court will tax costs against the
appellant.").&nbsp; Having dismissed the appeal at appellant=s request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

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PER
CURIAM

Delivered and filed the

5th day of May, 2011. 

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[1]&nbsp; Retired Second Court
of Appeals Justice John G. Hill assigned to this Court by the Chief Justice of the
Supreme Court of Texas pursuant to the government code. See TEX. GOV’T
CODE ANN. § 74.003 (Vernon 2005).

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